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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION
                           CIVIL ACTION NO. 5:16-cv-00219-JMH

In re: 5926 Lexington Road, Lancaster, Kentucky 40444

UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.

UNKNOWN HEIRS OF
MAE K. SYKES, et al.                                                                DEFENDANTS


             MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

       Comes the Plaintiff, United States of America, by and through counsel and hereby

respectfully moves the Court for an order granting leave to file a Second Amended Complaint in

the above-referenced matter. In support of this Motion, the Plaintiff states as follows:

       1. The Complaint was filed in this matter on June 22, 2016.

       2. After the initial Complaint was filed, the Plaintiff discovered that the mortgage debtor

           and defendant Mae K. Sykes was deceased and amended the complaint to reflect the

           same on August 15, 2016.

       3. The Plaintiff has since received the report of the Warning Order Attorney for the

           unknown heirs of Mae K. Sykes, in which the Warning Order Attorney found numerous

           heirs for Mae K. Sykes.

       4. The Plaintiff is seeking to amend its complaint to join the individuals identified by the

           Warning Order Attorney as the heirs-at-law of Mae K. Sykes, who may have an interest

           in the subject real property by virtue of their status as the heirs-at-law of Mae K. Sykes.
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        Therefore, the Plaintiff, United States of America, respectfully requests an Order granting

leave to file a Second Amended Complaint. A copy of the Amended Complaint to be filed in this

matter has been attached hereto and is incorporated herein by reference.


                                                                   Respectfully Submitted,



                                                                   By: /s/ Lauren B. Durham
                                                                   Attorney for the Plaintiff:
                                                                   James S. Watson/ Lauren B. Durham
                                                                   Foreman Watson Holtrey, LLP
                                                                   530 Frederica Street
                                                                   Owensboro, Kentucky 42301
                                                                   Phone: (270)689-2424
                                                                   Fax: (270)689-2420




                                          CERTIFICATE OF SERVICE

        I hereby certify that on November 14, 2016, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
the following:

        n/a



        I further certify that I mailed the foregoing document and the notice of electronic filing by first
class mail to the following non-CM/ECF participants:

        n/a
                                                                   /s/ Lauren B. Durham
                                                                   Lauren B. Durham
                                                                   Foreman Watson Holtrey, LLP
                                                                   Attorney for Plaintiff
